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UNITED S'I‘ATES DISTRICT COURT
SOUTHER_N DISTRIC'I' OF NEW YORK

 

 

 

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sTEvEN HART, ;
Defendant.
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(Obstruction of an Agency Proceeding)
The United States Attorney charges:
Relevant Entities and Individuals

l. At all times relevant to this Information,
Octagon Capital Partners, LP (“Octagon") was a private
investment fund with its principal place of business located in
New York, New York.

2. At all times relevant to this Information, STEVEN
HART, the defendant, controlled and directed Octagon, including
the purchase and sale of securities by Octagon. Through
Octagon, HART invested his own money and the money of several of
his associates.

3. At all times relevant to this Information, the

“Investment Firm” was a private company with its principal place

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of business in Englewood Cliffs, New Jersey. The Investment
Firm managed several funds (the “Investment Funds”), including
one particular fund (the “Fund”).

4. At all times relevant to this Information, STEVEN
HART, the defendant, served as a portfolio manager at the
Investment Firm. In his capacity as a portfolio manager at the
Investment Firm, HART exercised trading authority over the
brokerage accounts for the Fund.

5. At all times relevant to this Information, STEVEN
HART, the defendant, reported directly to the president and
owner of the Investment Firm (the “Investment Firm President”).

6. At all times relevant to this Information,
Octagon was not affiliated in any way with the Investment Firm
or the Investment Funds.

The Securities and Exchange Commission Investigation

7. In or about 2009, the U.S. Securities and
Exchange Commission (the “SEC”) was conducting an investigation
into certain conduct of STEVEN HART, the defendant (the “SEC
Investigation”).

a) First, the SEC was investigating whether, in

his capacity as a portfolio manager at the Investment Firm, HART
had conducted non-arms-length “match trades” or “cross trades”

between his personal fund, Octagon, and the Fund. That is, the

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SEC was investigating whether HART (l) caused Octagon to
purchase certain securities on the open market; and (2) then
caused the Fund to purchase these securities from Octagon at
inflated, above-market prices so that Octagon could profit.

b) Second, the SEC was investigating whether
HART had traded in securities based on material non-public
information (“MNPI”) relating to confidentially-marketed
securities offerings that HART obtained while being solicited to
invest in these offerings. That is, the SEC was investigating
whether HART (l) had been solicited to invest in certain
offerings; (2) obtained MNPI as part of that solicitation,
including the identity of the issuer and the anticipated timing
of any public announcements; and (3) subsequently traded on the
basis of the MNPI after committing not to do so.

8. As part of the SEC Investigation, SEC attorneys,
among other things, sent document subpoenas to the Investment
Firm and called the Investment Firm on multiple occasions in
order to speak to the Investment Firm President.

9. In the course of the SEC Investigation, SEC
attorneys also took sworn testimony of several individuals
relevant to the SEC Investigation, including STEVEN HART, the

defendant.

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Hart's Efforts to Obstruct Justice

 

Overview

10. STEVEN HART, the defendant, engaged in an effort
to obstruct the SEC Investigation. First, in an effort to
prevent his employer and direct supervisor, the Investment Firm
President, from learning about the SEC Investigation, HART
produced documents to the SEC in response to the SEC subpoena
Which had been sent to the Investment Firm without informing
anyone else at the Investment Firm about the subpoena and
without informing the SEC that HART alone produced records from
the Investment Firm. Second, HART provided sworn testimony to
the SEC in which he falsely stated that the Investment Firm
President had been aware of, and approved, HART’s match trading
activity and that HART and the Investment Firm President had
discussed the SEC Investigation. Third, HART impersonated his
employer and direct supervisor, the Investment Firm President,
among others, during phone calls with SEC attorneys.

Hart Responds to SEC Subpoena Sent to The Investment Firm

ll. On or about July 27, 2009, the SEC issued a
subpoena to the Investment Firm, care of the Investment Firm
President, seeking the production of several different
categories of documents relating to the SEC Investigation. The

subpoena was mailed to the business address of the Investment

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Firm, in Englewood Cliffs, New Jersey.

12. STEVEN HART, the defendant, received the subpoena
at the Investment Firm before it was seen by anyone else at the
Investment Firm and produced documents to the SEC in New York,
New York without (a) informing anyone else at the Investment
Firm that the firm had received a subpoena from the SEC, or (b)
informing the SEC that it was HART alone who responded to the
subpoena.

Hart Lies During Sworn SEC Testimony

13. On or about August 19, 2009, STEVEN HART, the
defendant, appeared for and gave testimony before the SEC in New
York, New York. During that sworn testimony, HART made several
materially false statements to the SEC, including the following:

a. HART falsely testified that he and
the Investment Firm President had discussed and agreed that HART
should conduct match trades involving the Fund as part of an
investment strategy for the Fund. In truth, HART never
discussed match trading with the Investment Firm President, and

the Investment Firm President had never approved HART's match

trades.
b. HART falsely testified that he and
the Investment Firm President had discussed the SEC

Investigation, and that the Investment Firm President was aware

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of HART's having been subpoenaed to testify before the SEC. In
truth, HART never disclosed to the Investment Firm President
that the SEC was investigating HART's conduct or that HART had
been subpoenaed to testify.

Hart Impersonates His Supervisor and a Coworker
During Telephone Calls with the SEC

14. On or about December 8, 2009, an SEC attorney
called the Investment Firm to speak with the Investment Firm
President regarding the SEC Investigation. STEVEN HART, the
defendant, received the phone call and pretended to be another
employee of the Investment Firm. The SEC attorney asked HART,
who was pretending to be another employee, to relay to the
Investment Firm President that the attorney had called and to
ask the Investment Firm President to return the call. HART did
not relay to the Investment Firm President that an attorney from
the SEC had called.

15. On a second occasion, on or about December 9,
2009, the same SEC attorney again called the Investment Firm in
order to speak with the Investment Firm President. STEVEN HART,
the defendant, again received the phone call and, on this
occasion, pretended to be the Investment Firm President. During
that call, HART, speaking as the Investment Firm President,

falsely stated to the SEC attorney that: (l) the Investment

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Firm President was aware that HART engaged in improper trading
activity, but nevertheless wanted HART to remain an employee of
the Investment Firm; and (2) the Investment Firm President was
aware of, and had approved, Hart's match trading activity as a
means for the Fund to dispense of restricted shares of stock.
16. On a third occasion, on or about December ll,
2009, the same SEC attorney, along with a second SEC attorney,
called the Investment Firm to speak with the Investment Firm
President. STEVEN HART, the defendant, again received the phone
call and again pretended to be the Investment Firm President.
During that call, HART, speaking as the Investment Firm
President, falsely stated to the SEC attorneys that: (l) HART's
match trading activity was an intentional strategy of the
Investment Firm to take a loss on the trading in exchange for
the ability to sell otherwise restricted shares of stock; (2)
HART was still a valued employee of the Investment Firm who had
earned the Investment Firm far more than whatever amount HART
had gained through match trading; and (3) HART had fully
disclosed to the Investment Firm President that HART had traded
based on MNPI and that this was a one-time mistake that would

not happen again. Each of these statements was false.

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Statutory Allegations

17. From in or about July 2009, through at least in
or about December 2009, in the Southern District of New York and
elsewhere, STEVEN HART, the defendant, corruptly influenced,
obstructed and impeded, and endeavored to influence, obstruct
and impede the due and proper administration of the law under
which a pending proceeding was being had before a department and
agency of the United States, to wit, in the course of an
investigation by the SEC into HART's securities trading, HART
(1) produced records to the SEC in response to a subpoena sent
to the Investment Firm without informing anyone else at the
Investment Firm about the subpoena and without informing the SEC
that HART alone produced records from the Investment Firm; (2)
falsely testified before the SEC that his employer, the
Investment Firm President, had been aware of, and had approved,
HART's match trades and that HART and the Investment Firm
President had discussed the SEC's investigation into HART’s
conduct; and (3) impersonated the Investment Firm President
during telephone conversations with SEC personnel.

(Title 18, United States Code, Section 1505.)

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COUNT TWO
(Perjury)
The United States Attorney further charges:
lB. The allegations contained in paragraphs l through
16 of this Information are repeated and realleged as though
fully set forth herein.
19. On or about August 19, 2009, in the Southern
District of New York, STEVEN HART, the defendant, having taken
an oath before a competent officer and person, in a case in
which a law of the United States authorized an oath to be
administered, that he would testify, declare, depose, and
certify truly, willfully and Contrary to such oath, stated and
subscribed to material matters which he did not believe to be
true, to wit, HART, during sworn testimony to the SEC, gave the
following false underlined testimony:
Q: You mentioned that we didn% think there was

any problem with the [match trading]
transactions. Who is the “we" yodre speaking

 

about?
(a) A: Myself and [the Investment Firm President.]
Q: So you and [the Investment Firm President]

decided to do this arrangement?

(b) A: Yes.

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Q: Did [the Investment Firm President] ask you what

is this about or why is the SEC looking at these
trades?

(c) A: We figure[d] it was on the deals, on the
offering section we have no clue, on the
trade section like I told you earlier we had

a hunch and we figured it was about those
cross trades.

Q: Is this a conversation you had with [the
Investment Firm President]?

(d) A: Yes.

(Title 18, United States Code, Section 1621.)

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United States Attorney

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

_.v'_

STEVEN HART,

Defendant.

 

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(18 U.S.C. §§ 1505, 1621)

PREET BHARARA
United States Attorney.

 

 

